           Case 2:04-cr-00366-WBS Document 48 Filed 08/03/05 Page 1 of 4


1    QUIN DENVIR, Bar #49374
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     DANIEL WALLACE SMITH
6
7
                        IN THE UNITED STATES DISTRICT COURT
8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,          )   NO. CR.S. 04-0366-WBS
11                                      )
                     Plaintiff,         )
12                                      )   STIPULATION AND ORDER RE
               v.                       )   CONTINUANCE OF STATUS HEARING AND
13                                      )   FINDINGS OF EXCLUDABLE TIME
     SHERYL DENISE DAVIS and DANIEL     )
14   WALLACE SMITH,                     )   DATE: September 7, 2005
                                        )   TIME: 9:00 a.m.
15                   Defendant.         )   JUDGE: Hon. William B. Shubb
                                        )
16   _______________________________
17          DANIEL WALLACE SMITH, by and through his counsel, DENNIS S.
18   WAKS, Supervising Assistant Federal Defender, defendant SHERYL DAVIS by
19   and through her counsel, C. EMMETT MAHLE, and the United States
20   Government, by and through its counsel, Matthew S. Stegman, Assistant
21   United States Attorney, hereby agree that the status conference set for
22   August 3, 2005 be continued to September 7, 2005 at 9:00 a.m.          This
23   continuance is requested because the Federal Defenders Office was
24   recently appointed to this case and has received over 1200 pages of
25   discovery which will require additional time to review.          The defendants
26   in this case consent to this continuance.
27          Accordingly, all counsel, along with Mr. Smith and Ms. Davis
28   agree that the time from August 3, 2005 through September 7, 2005
              Case 2:04-cr-00366-WBS Document 48 Filed 08/03/05 Page 2 of 4


1    should be excluded in computing the time within which trial must
2    commence under the Speedy Trial Act, §3161(h)(8)(B)(iv) and Local Code
3    T4. [reasonable time to prepare].
4    DATED:      August 2 , 2005
5                                        Respectfully submitted,
6                                        QUIN DENVIR
                                         Federal Defender
7
                                         /S/ Dennis S. Waks
8                                        ________________________________
                                         DENNIS S. WAKS
9                                        Supervising Assistant Federal Defender
                                         Attorney for Defendant
10                                       DANIEL WALLACE SMITH
11
     DATED: August 2      , 2005
12
                                         /S/ Dennis S. Waks for
13
                                         EMMETT MAHLE, Esq.
14                                       Attorney for Defendant
                                         SHERYL DAVIS
15
16                                       McGREGOR SCOTT
                                         United States Attorney
17
     DATE: August 2      , 2005
18                                       /S/ Dennis S. Waks for
                                         _______________________________
19                                       MATTHEW S. STEGMAN
                                         Assistant United States Attorney
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              Case 2:04-cr-00366-WBS Document 48 Filed 08/03/05 Page 3 of 4


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5    Attorney for Defendant
     DANIEL WALLACE SMITH
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7
                           IN THE UNITED STATES DISTRICT COURT
8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,             )   NO. CR.S. 04-0366-WBS
11                                         )
                        Plaintiff,         )
12                                         )   ORDER RE CONTINUANCE OF STATUS
                  v.                       )   HEARING AND FINDINGS OF
13                                         )   EXCLUDABLE TIME
     SHERYL DENISE DAVIS and DANIEL        )
14   WALLACE SMITH,                        )   DATE: September 7, 2005
                                           )   TIME: 9:00 a.m.
15                      Defendant.         )   JUDGE: Hon. William B. Shubb
                                           )
16   _______________________________
17                                ORDER AND FINDINGS
            The new status conference is set for September 7, 2005 at 9:00
18
     a.m.    For the foregoing reasons, the court finds that the interests of
19
     justice are best served and the public interest is protected by
20
     granting the continuance in the above-captioned matter.             Accordingly,
21
     time under the Speedy Trial Act is excluded from August 3, 2005,
22
     through September 7, 2005, in computing the time within which trial
23
     must commence under the Speedy Trial Act, pursuant to Title 18 U.S.C. §
24
     3161(h)(8)(B)(iv) and Local Code T4. (reasonable time to prepare.)
25
     DATED:    August 2, 2005
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